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Based upon information contained in I.C. File LH-0327 and upon an investigation made by the Investigations Section of the Industrial Commission, the Full Commission makes the following:
                            FINDINGS OF FACT
1. Decedent, Toney Clayton Summey, was an officer employed by the Randolph County Sheriff's Office at the time his death on 27 April 2003.
2. Decedent's death occurred in the course and scope of his employment when he was shot and killed while attempting to serve criminal domestic violence warrants on a suspect. Decedent died immediately at the scene.
3. At the time of his death and for at least six months prior to that date, decedent was married to and residing with Dena Tucker Summey. Decedent is also survived by two dependent children, Megan Dawn Summey, age 17, and Andrew Ryan Summey, age 12, both of whom resided with decedent and were totally dependant upon him for support on 27 April 2003.
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Based upon the foregoing findings of fact, the Full Commission concludes as follows:
                           CONCLUSIONS OF LAW
1. Decedent was an eligible employee of the Randolph County Sheriff's Office at the time of his death on 27 April 2003.
2. Decedent's death was the direct result of injuries incurred in the line of duty, as defined by N.C. Gen. Stat. § 143-166.2.
3. Decedent is survived by his wife, Dena Tucker Summey, who is eligible for the award of death benefits under N.C. Gen. Stat. §143-166.1 et seq.
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Based upon the foregoing findings of fact and conclusions of law, the Full Commission enters the following:
                                  AWARD
1. The sum of $25,000.00 is hereby awarded to Dena Tucker Summey as the qualified surviving spouse of Toney Clayton Summey, payable as follows: the sum of $10,000.00 shall be paid immediately to Dena Tucker Summey. Thereafter, the sum of $5,000.00 shall be paid annually to Dena Tucker Summey as long as she remains unmarried until such time as the balance of all payments equal $25,000.00. This sum shall be paid from funds appropriated by the State Treasurer for the purpose set forth in N.C. Gen. Stat. § 143-166.1 et seq. If Dena Tucker Summey becomes ineligible for benefits before the Award is fully paid, the balance of the payments under this Award shall be made to other eligible person(s).
A copy of this Award shall be furnished the Office of the State Treasurer for the purpose of having compliance with this Award, and the Commission shall be advised of the date or dates of payments made.
No costs are assessed before the Commission.
This the ___ day of June, 2003.
                                  S/___________________ BERNADINE S. BALLANCE COMMISSIONER
CONCURRING:
  S/_____________ THOMAS J. BOLCH COMMISSIONER
  S/_______________ CHRISTOPHER SCOTT COMMISSIONER